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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
IN RE: § CHAPTER 11
NATIONAL RIFLE ASSOCIATION : CASE NO. 21-30085-hdh11
OF AMERICA and SEA GIRT LLC, §
DEBTORS! : Jointly Administered

 

DECLARATION OF WILLIAM W. DAVIS, ON BEHALF OF PROPOSED ORDINARY
COURSE PROFESSIONAL WILLIAM W. DAVIS, ESQ.

I, William W. Davis, pursuant to Section 1746 of title 28 of the United States Code,
hereby declare that the following is true to the best of my information, knowledge, and belief:

A I am an attorney and conduct a legal practice under the name of William W.
Davis, Esq., located at 5311 Heron Trail, Middleton, WI 53562 (the “Company”).

2. The National Rifle Association of America and/or Sea Girt LLC (collectively, the
“Debtors”) have requested that the Company provide legal services to the Debtors, and the
Company has consented to provide such services.

3. The Company may have performed services in the past and may perform services
in the future, in matters unrelated to the Debtors’ Chapter 11 cases, for persons that are
parties in interest in these cases. As part of its customary practice, the Company is retained in cases,
proceedings, and transactions involving many different parties, some of whom may represent
or be claimants or employees of the Debtors, or other parties in interest in these cases. The

Company does not perform services for any such person in connection with these cases. In

addition, the Company does not have any relationship with any such person, their attorneys, or

 

* The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 33030.

 
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accountants that would be adverse to the Debtors or their estates.

4. Neither L, nor any principal of, or professional employed by the Company has
agreed to share or will share any portion of the compensation to be received from the Debtors with
any other person other than the principals and regular employees of the Company.

5. Neither I, nor any principal of, or professional employed by the Company,
insofar as I have been able to discover, holds or represents any interest adverse to the Debtors or
their estates.

6. The Company believes that the Debtors owe it $15,483.87 for prepetition
services, the payment of which is subject to limitations contained in the United States Bankruptcy
Code, 11 U.S.C. §§ 101-1532. I understand that the amount owed by any of the Debtors to the
Company for prepetition services will be treated as a general unsecured claim, and as such, the
Company may file a proof of claim. I further understand that this declaration will not suffice as
the Company’s proof of claim.

cf At any time during the period of its employment, if the Company should discover
any facts bearing on the matters described herein, the Company will supplement the information
contained in this Declaration.

8. I, or a representative of the Company, have read and am familiar with the
requirements of the Order Authorizing Employment and Payment of Professionals Utilized in the
Ordinary Course of Business.

I declare under penalty of perjury that the foregoing is true and correct. Executed this

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March 5, 2021 in Middleton, Wisconsin. rf} ff - Z / Bs

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William W. Davis

 
 
